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               UN ITED STATES DISTRICT COURT SOUTHERN DISTRICT OF FLORIDA .


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             '                                     respectfuil.y   submit the foiiowing:* G *o                    t.i
            Pur suant to the Federal Tort Claims Act waiver of immunity, the'
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            Movant hereby files his claim for $155,000.00 in damages against the
            United States Probation Office, Southern District of Florlda w namely
            Heath Schur, Marlene Barratte Peggy Bates-Hobcroft and Nancy Colon .

            Thc support for said claim and waiver of immunity is Intentional
            Infliction of Emotional Distress , Military Discrim ination,
            Disability Discrimination and w41ifully and knowlngly providing
            false and misleading information to law enforcement . Furthermore,
            the evidence will show abuse of the trust and protection çiven to
            Federal employees, which is particularly frowned upon by t *V
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            On Thursdav Januarv 13, 2011s the Movant was sentenced tS      = 73l
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            of Federal Probation, which stemmed from an alleged inciW> nt &'' the
            West Palm Beach VA where the Movant reported a scorned fG naleW A
            employee for months . The Movant was sub sequently instructed to turn
            in his firearm since the employee was somehow able to obtain an
            injunction for protection, although it was at a11 times the Movant
            that was seekinq restraint . The Movant appeared with his firearm and
           petition for an injunction, was allowed to depart with his firearm,
           but arrested the following day by a VAOIG intern who was having
           sexual relations with the sam e fem ale employee in question .

            After a period of supervised release by US Probation Officer Kenneth
            Goldberq, the Movant qot Heath Schur as his first probation officer .



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             Durinq the initial period of probationr Mr . Heath Schur seem ed
             sympathetic to the Movant's situation, where the perpetrator was
             portrayed as the victim , at the Movant's expense, particularly in
             liqht of the use of the Movant's minor child, Amanda Jade Koole .

             The Movant discovered however, that said alleged sympathy was reaily
             apathy, and Mr . Schur started assisting and visiting with Veronica
             Sanborn-pledger, whom he wouid even refer to as ''the victimv .

             On Friday April 8, 2011, two unarmed Special Agents with the FBI
             visited the Movant 's home in reqards to a letter sent to Congressman
             Allen West, which the Movant believed originated from the West Palm
             Beach VA Police . The Movant was initially deemed a suspect, but
             cleared that same day .

             Since the Movant had no success with the VAOIGe the Movant took this
             opportunity to request the help of the FBI, and reiayed in detaii
             his experiences with the negiigence, corruption and cover up at the
             West Palm Beach VA . Ms. Pledger was terminated shortly thereafter,
             to uhich the Movant will credit the FBI for the rest of his life .



            When Mr . Heath Schur got wind of thisy he became particularly
            anxious and aqitated, ànd strenuously instructed that the Movant not
            meet with the FBI anymore. Apparentiy Mr- Schur was subjected Lo an
            allegation of possession of child pornography, which is further
            supported by the fact that he would often offer to help fold the
            Movant's laundry , particularly the Movant's daughters? panties .

            The Movant repeatedly reiayed this to his supervisor, Lonzo Lowery,
            as Well as the Deputy Chier of US Probation, Marlene Barratt.

            Neither person took any appropriate actione besides Mr . Lowery
            instructing Mr . Schur nnt to offer to heip fold any panties .
            This seriously eroded the already adverse relationship between the
            Movant and Mr. Heath Schur .

            It worsened when Mr . Heath Schur became personally involved into the
            Movant's divorce proceedings, and would visit with the Movant's ex-
            wife.

            On Tuesday February 15r 2011, the Movant's ex -wife requested the
            escort of PBSO to pick up her daughters who were with the Movant . To
            gather support for such unnecessary escorte the Movant 's ex-wife
            relaved to the PBSO dispatcher the follow ing about the Movant :




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          Case 9:12-cv-80262-KAM Document 1 Entered on FLSD Docket 03/09/2012 Page 4 of 10
             nHe has violent tendencies''
             AAHe    an x-marine diagnosed with severe post-stress disorder'?

             %*He   on Federal Probatlon ln reference to threats and possesslon
             of a gun at the VA hospital''

             nShe wants standby due to his past history''
             nHe was Baker Acted twice bv PBSO, Oct. 2010 and 01/25/2011'%



             The statements above, in unison w ith a particular PBSO Deputy , Sgt
             Spuck, generated at least three PBSO deputies to appear at the
             Movant's residence, in the p resence of the minor children .

             The Movant relayed this informatlon to his probation officer , Heath
             Schur. A gain Mr . Schur showed empathy with the Movant for the
             conduct of his ex-w ife, and prom ised to help with some phone calls .
            Th o M ovan t w a& p arti cuïa riy dlam H found ed at h ow e asy it w a s to lie
            law enforcement, and get away with it - Mr. Schur then informed the
            Movant that it appeared the Movant 's ex-wife knew exactly what key
            words to use, in order to get the desired excitem ent and anticipated
            confrontation without any supporting evidence .

            The Movant explained to Mr . Heath Schur that the most hurtful
            keyword the ex-wife used was the term *'x-marine''. She belied that
            same statement with her own Federal Arm ed Forces ID card, which
            clearly states the Movant is in the United States Marine Corps
            Reserves, and is on contract until at least December 15, 2011.
            Mr . Heath Schur explained that the term i'x-marine'' or ''x-military''
            gives an impression of a trained killer without comm and and control .

            In regards to the Movant's disabilities, the Movant asked why he
            keeps getting discrim inated for them , to which Mr . Schur replied ;
            ''it must be exciting for a cop who docs not know what it is''.
            The Movant concurred with Mr . Schur that the Movant voluntarily
            seeka and compiies with appropriate treatment , which the ex-wife
            intentionally omitted . Mr. Schur 's response : Ahshe's ciever''.

            The M ovant also reiterated that he is currently TN the US Military ,
            which Mr. Heath Schur acknowledged . Moreover: Mr. Heath Schur had
            copieu of the Movant's Military ID card, which showa that it is
            impossible tor the Movant to be an l'x-marine'' or nx military''.
                                                                         -




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          Case 9:12-cv-80262-KAM Document 1 Entered on FLSD Docket 03/09/2012 Page 5 of 10
             The Movant and Mr . Heath Schur went over a11 of the keywords used by
             the Movant's ex-wife to the PBSO to qenerate an unnecessary show of
             force , an d th e M ovan t wa a pa rticu ïa rly sadd ened by the ia ck o t
            action taken by Mr. Heath Schury when those **key words'' proved to be
            blatant iiese and caused emotional harm to his probationer.

              Unconscionably, Mr . Heath Schur would use those exact false key-
             words to the PBSO just a few months later, in addition to his own
             key words .



            On Thursday June 16, 2011, Mr. Heath Schur called the PBSO trom a
            Subway restaurant with four additional US Probation officers,
            including the Deputy Chief Marlene Barratt and relayed to the PBSO
             dlspatcher the following :
             l.''will be doing a search of one of their offenders'', reference to

            z-nlooking for firearms''

            3-nwould like assistance from us to do this, requesting 2 Deputy
            Sherriff's to respond''

                nsubject (Movant) has severe post traumatlc stress'', and
            5. uhas expressed hostility towards 1aw enforcement''

            6. ulMovant) has a history of being Baker Acted'' and
                Vis ex-m iiitary'f

            8. MWe have emails from subject (Movant) referencing possibly having
            firearm s?o



            In light of the Februarv l5, 2011 incident , the Movant was
            particularly devastated that his Federal US Probation Officer would
            use the exact same key words in addition to his own , and again
            discriminate the Movant for his Military Status and mention his
            dlsabilltiesr while intentionally om itting the fact that same is
            voluntarily seeking, receiving and complying with appropriate
            tr eatment s .

            uIt takes the courage and strength of a warrior to ask for help'' --
            -
              General Norman Schwarzkopf .




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          Case 9:12-cv-80262-KAM Document 1 Entered on FLSD Docket 03/09/2012 Page 6 of 10

                The Movant is a prob ationer, not an offender .

                nlooking for firearms'': even according to the PBSO, a simple
             request for assistance without specifics would have been sufficient .

             3. Mr. Heath Schur already had the manpoWer of four addltlonal
             Federal US Probation officers, which makes 5 people. He requested
             not one , but two deputies, which make a totai of at ieast 7 peopze
             tn one res iden ce .

             4. In a despicably similar fashion to numerous other people,
            includinq the Movant's ex-wife, Mr. Heath Schur agaln intentionally
            points out the disabilltles of the Movant, while making sure to omit
             that same is voluntarily seeking, receiving and complying with
             treatment , and has been living with said disabilities for years .
            This is Disability Discrimination , to which Mr. Schur, or any other
            State or Federal Emplovee is particularly not exempt .

            5. Certified by the PBSO, it was this particular statem ent from Mr .
            Heath Schur that generated an angry attitude by the responding PBSO
            deputies, in addition to a11 the other alarming statements . Mr .
            Schure or anybody else, will never be able to justlfy such offensive
            statem ents . The Movant has the utmost respect for non-corrupt 1aw
            enforcement personnel, and even applied for same .

            6. Precisely similar to the Movant's ex-wife , Mr. Heath Schur
            deliberately made it a point to relay that the Movant has ''a history
            o f b eing Ba ker A cted ''- F irst and forem o st y th e B ake r 's A ct w aM n ot
            signed into 1aw to reflect negatively on someone . Second , the Movant
            has never been appropriately Baker Acted, and has at a1l times
            voluntarily complied with 1aw enforcement , and at al1 tim es released
            the following day after exam ination . The only time the Movant has
            ever been held lonqer than 24 hours, was on January 25, 2011, when
            the Movant was unlawfully Baker Acted by a VA police officer, in
            retaliation for the dismlssal of V eronica Sanborn-pledger's
            injunction for dating violence by the Honorable Judge Charles
            Burton.

            The Movant was intentionally held long enough to miss a January 26,
            2011 Court date, which generated an arrest warrant and snowballed .

               nex-military ''. Notwithstanding his personal knowledge of the
            Movant actually being 1: the United States Marine Corps, Mr. Heath
            Schur used these false key words that he himself explained falsely
            portrays someone as a tralned killer w ithout command and control.


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             The Movant has a daily d ifficulty in comprehGndlng and recoverlng
             from sald Willful, knowinglyz and intentionally untrue statements,
             provided with the desired result of a confrontation, which could
             have very easily turned deadly .

                 Ema lls .

             Mr . Heath Schur w111 not be able to provide any emails to him in
             Which the Movant references posslbly having firearms . That is a lie .

             Sim ilar to point 1, this was used to generate an unusually large
             presence of 1aw enforcement, which the Movant 's community still
             speaks about as being outrageous .

             A total of Af armed 1aw enforcement officers showed up at the
             Movant's residence as a result of the wrongful actions of Mr . Heath
             Schur .



            Unfortunateiv, as recent as January 30. 2012, m erely hou rs before
            her retlrement ln front of the Honorabie Senior Judge Kenneth
            Ryskamp, US Probation Officer Peggy Bates-Hobcroft also repeatedly
            used the Baker 's A ct to reflect neqatively up on the Movant, and also
            referred to the Movant as an ex-marine, notwithstanding her first
            hand knowledge of the Movant being iq the US Armed Forces, and hoW
            traumatizing it was what Mr. Heath Schur did to the Movant .

            Ms. Bates-Hobcroft appeared to show empathy, and the Movant confided
            in her r only to later discover that the same keywotds were used
            which could have ended very catastrophic -

            Deputy Chief of US Probation Southern District of Florida , Marlene
            Barratt, drove up a11 the way from Miami to West Palm Beach to
            support the extension of a minimum of six m ore months of Probation ,
            notwithstanding her personal knowledge of the trauma it has caused,
            and her first hand knowledge of Heath Schur, whom was terminated as
            the Movant's p robation officer.

            Ms. Peggy Bates-Hob croft then tried to convince the Honorable
            Magistrate Judge James Hopkin s and the Honorable Senior Judge
            Kenneth Ryskamp that itFs the Movant's conduct that caused Mr . Heath
            Schur to no longer be his probation offlcer .

            Ms . Nancy Colon , a person that has never met the Movant , claims to
            have personal relationships w ith Federal Judges, and referred the
            Movant to the Appellate Court, upon receipt of Movant'u SF-95.




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             In compliance with the law, the Movant has exhausted a11
             administrative avenues prior to pursuing legal action. Al1 such
             attempts to resolve have m et with negative results .



            Tn light of the abovee the Movant hereby respectfully requests from
            this Court to grant the Movant his claim for damages .
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            Respectfully submitted by,              ,

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            Reinier Koole .



            Certificate of Service t

            The Movant hereby certifies that a copy of the above has been mailed
            to the US Probatlon Office and US Attornev's Office Southern District
            oû Fiorida, 400 North Miami Ave . 90 Fioor, Miam ie FL - 33128 and 500
            South Australian Ave . #400, West Palm Beach e FL - 33401 respectively'
            thi s 22nd of February 2012 .



            W itne sses :

            Kenneth Goldberg

            Susan Campbell

            T on dra P rin ce

            Raymond Sanabria

            Amanda Johns

            Kelly Bryant

            Sara Davey

            Donna Bom an

            Heldi Grob

            FBI Special Agents Smith and Darling .



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